USDC IN/ND case 3:04-cr-00108-RLM       document 246    filed 12/27/07   page 1 of 3


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


UNITED STATES OF AMERICA                 )
                                         )
            vs.                          )     CAUSE NO. 3:04-CR-108 RM
                                         )
ABDAL AZZIZ HAMMAD (01)                  )


                              OPINION and ORDER

      This cause comes before the court on Abdal Hammad’s motion to vacate, set

aside, or correct his sentence filed pursuant to 28 U.S.C. § 2255 or, in the

alternative, pursuant to 28 U.S.C. § 2241. Mr. Hammad asks the court to vacate

his guilty plea and judgment of conviction and set this matter for trial.



                         Claims under 28 U.S.C. § 2255

      Mr. Hammad filed a motion pursuant to 28 U.S.C. § 2255 in December

2006 asking that his sentence be vacated, set aside, or corrected. That motion was

denied on January 19, 2007. Thus, Mr. Hammad’s current petition for relief

pursuant to 28 U.S.C. § 2255 must be considered to be a second or successive

petition under § 2255. 28 U.S.C. § 2244 provides that before a second or

successive motion is filed with the district court, “the applicant shall move in the

appropriate court of appeals for an order authorizing the district court to consider

the application.” Mr. Hammad doesn’t state that he has asked the appropriate

appellate court for such authorization, and his motion for relief under § 2255

must be denied as directed to the wrong court.
USDC IN/ND case 3:04-cr-00108-RLM        document 246     filed 12/27/07   page 2 of 3


                          Claims Under 28 U.S.C. § 2241

      Mr. Hammad claims, in the alternative, that the savings clause of § 2255

entitles him to relief pursuant to 28 U.S.C. § 2241. Section 2255 permits a

prisoner to proceed under § 2241 where § 2255 is “inadequate or ineffective to test

the legality of his detention.” 28 U.S.C. § 2255 ¶ 5. Mr. Hammad, however, hasn’t

alleged that he is “in custody in violation of the Constitution or laws or treaties of

the United States,” 28 U.S.C. § 2241(c); see also United States v. Trotter, 270 F.3d

1150, 1152 (7th Cir. 2001) (“The respondent has not informed us whether [he]

remains on federal supervised release, which is a form of custody.”), nor has he

established that jurisdiction is proper in this court. See Morales v. Bezy, 499 F.3d

668, 670 (7th Cir. 2007) (“a § 2241 petition must be filed in the district in which

the petitioner is confined rather than in the one in which he was sentenced”);

United States v. Prevatte, 300 F.3d 792, 799 n.2 (7th Cir. 2002) (“A § 2241

petition, even when sought by way of the savings clause of § 2255, must be filed

in the district of confinement, . . . not the district where the case was tried.”). Mr.

Hammad hasn’t met his burden of establishing that this court has jurisdiction to

consider his § 2241 claims. See Hart v. FedEx Ground Package Sys., Inc., 457

F.3d 675, 679 (7th Cir. 2006) (“In general, of course, the party invoking federal

jurisdiction bears the burden of demonstrating its existence.”).



                                     Conclusion



                                          2
USDC IN/ND case 3:04-cr-00108-RLM     document 246    filed 12/27/07   page 3 of 3


      Accordingly, Mr. Hammad’s motion to vacate, set aside, or correct sentence

[docket # 244]

            (1) brought pursuant to 28 U.S.C. § 2255 is DENIED as a

      second or successive motion not properly before this court, and

            (2) brought pursuant to 28 U.S.C. § 2241 is DENIED.

      SO ORDERED.

      ENTERED:     December 27, 2007



                               /s/ Robert L. Miller, Jr.
                              Chief Judge
                              United States District Court




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